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                                <pageID>
Case 3:07-cv-00009-TAV-CCS Document 1-1 Filed 01/09/07 Page 2 of 7 PageID #:
                                <pageID>
Case 3:07-cv-00009-TAV-CCS Document 1-1 Filed 01/09/07 Page 3 of 7 PageID #:
                                <pageID>
Case 3:07-cv-00009-TAV-CCS Document 1-1 Filed 01/09/07 Page 4 of 7 PageID #:
                                <pageID>
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                                <pageID>
Case 3:07-cv-00009-TAV-CCS Document 1-1 Filed 01/09/07 Page 6 of 7 PageID #:
                                <pageID>
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                                <pageID>
